
The People of the State of New York, Respondent, 
againstArnoldo Otway, Defendant-Appellant.



In consolidated appeals, defendant appeals from (1) a judgment of the Criminal Court of the City of New York, New York County (Alexander M. Tisch, J.), rendered July 7, 2014, convicting him, upon a plea of guilty, of driving while intoxicated and (2) a judgment (same court and Judge), rendered July 7, 2014, convicting him, upon a plea of guilty, of driving while impaired, and imposing sentence.




Per Curiam.
Judgments of conviction (Alexander M. Tisch, J.), each rendered July 7, 2014, affirmed.
Application by appellant's counsel to withdraw as counsel is granted (see Anders v California, 386 US 738 [1967]; People v Saunders, 52 AD2d 833 [1976]). We are satisfied with the sufficiency of the brief filed by defendant's assigned counsel pursuant to Anders, and, upon an independent review of the record, agree that there is no valid appealable issue that could be raised on appeal.
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: November 20, 2017










